          Case 1:14-vv-00030-UNJ Document 41 Filed 02/13/15 Page 1 of 7




       In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 14-030V
                                     Filed: January 22, 2015

* * * * * * * * * * * * * * * *                           UNPUBLISHED
JOHN MONTEITH,                              *
                                            *             Special Master Dorsey
              Petitioner,                    *
                                             *
v.                                           *
                                             *            Joint Stipulation on Damages;
SECRETARY OF HEALTH                          *            Influenza (Flu) vaccine; transverse
AND HUMAN SERVICES,                          *            myelitis.
                                             *
              Respondent.                   *
                                             *
* * * * * * * * * * * * * * * *
Andrew Donald Downing, Van Cott & Talamante, PLLC, Phoenix, AZ, for petitioner.
Jennifer Reynaud, United States Department of Justice, Washington, DC, for respondent.

                                            DECISION1

        On January 13, 2014, John Monteith (“petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006).
Petitioner alleged that he suffered from transverse myelitis as a result of an influenza (“flu”)
vaccine that he received on January 14, 2011. See Petition at 1-3. Petitioner further alleged that
he experienced the residual effects of these injuries for more than six months. Id. at 3.

       On January 22, 2015, the parties filed a stipulation, stating that a decision should be

1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).

2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.

                                                  1
         Case 1:14-vv-00030-UNJ Document 41 Filed 02/13/15 Page 2 of 7



entered awarding compensation.

        Respondent denies that petitioner’s alleged transverse myelitis and residual effects were
caused-in-fact by the flu vaccine. Respondent further denies that the flu vaccine caused
petitioner any other injury or his current condition. Nevertheless, the parties agree to the joint
stipulation, attached hereto as Appendix A. The undersigned finds the stipulation reasonable and
adopts it as the decision of the Court in awarding damages, on the terms set forth therein.

       The parties stipulated that petitioner shall receive the following compensation:

       A lump sum of $250,000.00, in the form of a check payable to petitioner, John
       Monteith. This amount represent compensation for all damages that would be available
       under 42 U.S.C. § 300aa-15(a).

       Stipulation ¶ 8.

       The undersigned approves the requested amount for petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation.3

       IT IS SO ORDERED.

                                             s/ Nora Beth Dorsey
                                             Nora Beth Dorsey
                                             Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


                                                2
Case 1:14-vv-00030-UNJ Document 41 Filed 02/13/15 Page 3 of 7
Case 1:14-vv-00030-UNJ Document 41 Filed 02/13/15 Page 4 of 7
Case 1:14-vv-00030-UNJ Document 41 Filed 02/13/15 Page 5 of 7
Case 1:14-vv-00030-UNJ Document 41 Filed 02/13/15 Page 6 of 7
Case 1:14-vv-00030-UNJ Document 41 Filed 02/13/15 Page 7 of 7
